            Case 2:19-cv-01514-GAM Document 31 Filed 05/14/20 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SUSAN LIPSHUTZ,                                    :
                              Plaintiff,           : CIVIL ACTION
       v.                                          :
                                                   :
TRANS UNION, LLC, EXPERIAN,                        : NO. 2:19-cv-01514-GAM
INFORMATION SOLUTIONS, Inc.,                       :
EQUIFAX INFORMATION SERVICES,                      :
LLC, ARS ACCOUNT RESOLUTION                        : JURY TRIAL DEMANDED
SERVICES AND AMERICOLLECT INC.                     :
                                                   :
                                Defendants         :


             STIPULATION OF DISMISSAL WITH PREJUDICE PURSUANT TO
                            FED. R. CIV. P. 41(a)(1)(A)(ii)

       It is hereby stipulated by and between Plaintiff, Susan Lipschutz (incorrectly identified as
Susan Lipshutz) (“Plaintiff”), and Defendant, ARS Account Resolution Services (“Defendant”),
that Plaintiff’s claims against Defendant are hereby dismissed with prejudice and without costs
to either party pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii).
                                               THE KIM LAW FIRM LLC

                                               /s/ Richard H. Kim
                                       By:     RICHARD H. KIM, ESQUIRE
                                               1635 Market Street, Suite 1600
                                               Philadelphia, PA 19103
                                               855-996-6342; (fax) 855-235-5855
                                               rkim@thekimlawfirmllc.com
                                               Attorney for Plaintiff

                                               KAUFMAN DOLOWICH & VOLUCK, LLP
                                       By:     /s/ Monica M. Littman
                                               RICHARD J. PERR, ESQUIRE
                                               MONICA M. LITTMAN, ESQUIRE
                                               Four Penn Center
                                               1600 John F. Kennedy Blvd., Suite 1030
                                               Philadelphia, PA 19103
                                               (215) 501-7002; Fax (215) 405-2973
                                               rperr@kdvlaw.com; mlittman@kdvlaw.com
Dated: May 14, 2020                            Attorneys for Defendant


                                                  1
         Case 2:19-cv-01514-GAM Document 31 Filed 05/14/20 Page 2 of 2




                               CERTIFICATE OF SERVICE

       I, MONICA M. LITTMAN, ESQUIRE, hereby certify that on or about this date, I served

a true and correct copy of the foregoing via ECF on the following:

                                   Richard H. Kim, Esquire
                                 THE KIM LAW FIRM LLC
                                1635 Market Street, Suite 1600
                                    Philadelphia, PA 19103
                                 rkim@thekimlawfirmllc.com
                                     Attorney for Plaintiff

                                     Jessica Reilly, Esquire
                                       CLARK HILL PLC
                                 2001 Market Street, Suite 2620
                                    Two Commerce Square
                                    Philadelphia, PA 19103
                                      jreilly@clarkhill.com
                   Attorney for Defendant Equifax Information Services, LLC


                                            /S/ Monica M. Littman
                                            MONICA M. LITTMAN, ESQUIRE
Dated: May 14, 2020




                                               2
